     Case: 3:19-cr-00011-DMB-RP Doc #: 141 Filed: 11/22/19 1 of 3 PageID #: 295




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

V.                                                                         NO. 3:19-CR-11-14

ERIC ARMSTRONG

                                           ORDER

       This multi-defendant criminal case is before the Court on Eric Armstrong’s motion to

dismiss. Doc. #129.

                                             I
                                     Procedural History

       On February 28, 2019, Eric Armstrong and thirteen codefendants were named in a

seventeen-count indictment charging various crimes related to an alleged drug distribution

conspiracy. Doc. #1. Armstrong made an initial appearance in this case on March 28, 2019. Doc.

#49. On April 3, 2019, Armstrong waived his right to appear at arraignment and entered a plea of

not guilty. Doc. #87.

       On September 25, 2019, Armstrong filed a motion to dismiss “for the government’s failure

to prosecute him in a timely manner as required by” the Speedy Trial Act. Doc. #129 at 1. The

government responded to the motion on October 3, 2019. Doc. #131. The same day, the

government moved to sever two defendants who had not yet been located and arrested—Tarrell

Jackson and Son Hai Nguyen—from the prosecution of Armstrong and his eleven other

codefendants. Doc. #130. Nguyen was subsequently apprehended and made an initial appearance

on November 21, 2019. Doc. #139. The motion to sever was granted only as to Jackson on

November 22, 2019.
     Case: 3:19-cr-00011-DMB-RP Doc #: 141 Filed: 11/22/19 2 of 3 PageID #: 296




                                                 II
                                               Analysis

       18 U.S.C. § 3161, also known as the Speedy Trial Act, “requires that trial must begin within

seventy days of the later of the filing date of the information or indictment, or the date the defendant

has appeared before a judicial officer of the court in which such charge is pending.” United States

v. Rojas, 812 F.3d 382, 409 (5th Cir. 2016) (internal quotation marks and alterations omitted). The

seventy-day period does not include “[a] reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for trial has not run and no motion for severance

has been granted.” 18 U.S.C. § 3161(h)(6).

       Reasonableness is measured by “either (1) the totality of the circumstances prior to trial; or

(2) the actual prejudice suffered by the appellant as a result of the delay.” United States v. Stephens,

489 F.3d 647, 654 (5th Cir. 2007) (internal quotation marks omitted). The totality inquiry “focuses

on the necessity of the delay, giving proper consideration to the purpose [of the exclusion]–

accommodating the efficient use of prosecutorial and judicial resources in trying multiple

defendants in a single trial.” Id. (quotation marks omitted). With respect to prejudice, “relevant

considerations include whether the delay impaired the appellant’s ability to defend himself or

resulted in excessive pretrial incarceration.” United States v. Bieganowski, 313 F.3d 264, 283 (5th

Cir. 2002). Here, the delay is reasonable under either formulation.

       First, “[t]he utility of a joint trial is particularly compelling” where, as here, “the defendants

[are] charged with a single conspiracy so that the government could be expected to recite a single

factual history, put on a single array of evidence, and call a single group of witnesses.” United

States v. Franklin, 148 F.3d 451, 457 (5th Cir. 1998) (internal quotation marks omitted). A delay

to apprehend a co-conspirator is necessary to effectuate this purpose. Id. Similarly, the Court finds

no prejudice to Armstrong in the delay. It appears Armstrong is not in custody. See Doc. # 51

                                                   2
     Case: 3:19-cr-00011-DMB-RP Doc #: 141 Filed: 11/22/19 3 of 3 PageID #: 297




(secured bond posted by Armstrong). Furthermore, his motion identities no prejudice in his ability

to defend himself.

       Under these circumstances, the Court concludes that the 239-day delay between

Armstrong’s initial appearance and the severance of his codefendant is excludable under the

Speedy Trial Act. See generally United States v. Tobin, 840 F.2d 867, 869–70 (11th Cir. 1988)

(delay of eight months and ten days to apprehend co-conspirator reasonable).

                                              III
                                           Conclusion

       For the reasons above, Armstrong’s motion to dismiss [129] is DENIED.

       SO ORDERED, this 22nd day of November, 2019.

                                                    /s/Debra M. Brown         ____
                                                    UNITED STATES DISTRICT JUDGE




                                                3
